Case 2:04-cV-02056-SHI\/|-tmp Document 47 Filed 08/19/05 Page 1 of 3 Page|D 69

Fil .,
IN THE UNITED STATES DISTRICT COURT -ED B¥ "'“ D'("

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WESTERN DIVISION 5 AUG ' 9 AH 5= 5|

 

MILDRED MINNIS and ARACIA PARKER
()n behalf of themselves and as Representatives
Ofa Class of all others similarly situated,

 

Plaintiffs,
v. NO.: 04~2056-Ma-D
CITY OF MEMPHIS, COUNTY OF SHELBY, JUDGE: MAYS
STATE OF TENNESSEE, MEMPHIS HOUSING
AUTHORITY, MEMPHIS LIGHT, GAS & WATER, Magistrate Judge: Pham

SHELBY COUNTY ASSESSOR, SHELBY COUNTY
TRUSTEE, and the STATE OF TENNESSEE

Defendants.

 

CONSENT ORDER OF DISMISSAL

 

Come now the Plaintiff`s and announce to the Court their desires to take a non-suit with
respect to the remaining Defendant, Memphis Housing Authority; and seek to enter a non-suit with
respect to the entire cause; IT IS ORDERED ADJUDGED AND DECREED

That the Defendant, Memphis Housing Authority, is hereby dismissed without prejudice, and

this entire cause of action is dismissed Without prejudice; and costs are assessed to Plaintiffs.

JAM/~L_`

JUDGE
DATED: '4'*)""`1' ‘3/ today

 

 

This document entered on the docket aheet in oomp|iance
with note 58 and/or 79(3) FacP on 9 22 /O\S'"

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APPROVED:

PLAINTIFFS:

By: @./ i§;ij

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DEFENDANT, Memphis Housing Authority

By: THOMASON, HENDRIX, HARVEY,
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BYZ'Z.., !£_- _`{7'?/
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CERTIFICATE OF SERVICE

l do hereby certify that a copy of the foregoing document has been properly served upon
the following Brian Kuhn, Shelby County Attorn_ey’s Off:ce, 160 N. Main St., Suite 660,
Memphis, TN 38103; Monice Hagler Tate, Fearnley & Califf, 63 89 Quail Hollow Road,
Mernphis, TN 38120; Craig Willis, Shelby County Attorney’s Offlce, 160 N. Main St., Suite 660,
Memphis, TN 38103; Dedrick Brittenum, Jr., Farris Mathews Branan Bobango & Heflen, PLC,
40 S. Main St., Suite 2000, Memphis, TN 38]03; Richard B. Fields, Attorney for Plaintiff, 688
Jefferson Avenue, Memphis, Tennessee 38105; and William Haltom, 'l`homason, Hendrix,
Harvey, Johnson & Mitchell, PLLC, 40 S. Main St., Suite 2900, Memphis, TN 38103 via U. S.
mail, postage prepaid, this // day of August, 2005.

J. Martin Regan, Jr.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:04-CV-02056 was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

